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            Exhibit 349
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Document title: How DJT Lost the White House, Chapter 1: All the President’s Teams (11/3 – 12/17) – Deep Capture
Capture URL: https://www.deepcapture.com/2021/01/november-3-december-23-all-the-presidents-teams/
Capture timestamp (UTC): Fri, 05 Mar 2021 18:18:19 GMT                                                             Page 1 of 18
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Document title: How DJT Lost the White House, Chapter 1: All the President’s Teams (11/3 – 12/17) – Deep Capture
Capture URL: https://www.deepcapture.com/2021/01/november-3-december-23-all-the-presidents-teams/
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Document title: How DJT Lost the White House, Chapter 1: All the President’s Teams (11/3 – 12/17) – Deep Capture
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·9· ·GEOMETRIC PROOF
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                   Geometric Proof Edward Solomon
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·1· · · · · · EDWARD SOLOMON:· My name is Edward Solomon.            I
·2· specialize in elementary number theory and counting
·3· arts.· I dedicated the entirety of my childhood and
·4· adult life to the study of prime numbers, irreducible
·5· fractions and totals.· I shall present to you geometric
·6· proof that the 2020 election was stolen in the city of
·7· Atlanta in the state of Georgia.
·8· · · · · · Geometrical proof supercedes any
·9· statistical argument or counter arguments.· So how do
10· I know this?· In the city of Atlanta -- before I
11· continue this discussion, for the purpose of this
12· discussion a ratio will be the amount of votes that
13· Trump gets out of the total amount of votes at a
14· particular precinct.· So if you went to Elementary
15· School Apple Blossom to vote and Trump received 45
16· votes and a total of 190 people voted, then the ratio
17· would be 45 Trump to 190 total.· So how do did know
18· that something terrible happened in Atlanta?
19· · · · · · Well, there would be sets of precincts,
20· we'll call them elementary schools where exact
21· discrete integer ratios because votes are supposed to
22· be integers, right?· They would appear for Trump to
23· the total.· So let's say Trump would get 40 out of
24· every one hundred votes exactly, and this would
25· happen in several precincts at once.· So imagine


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·1· every elementary school within 20 miles of where you
·2· live getting exactly 40 out of one hundred votes,
·3· Trump to total.· Then they would abandon the ratio.
·4· This algorithm would release control of them and let
·5· them continue to tabulate their votes naturally
·6· without anymore interference.· But then another set
·7· of precincts, let's say every library and every
·8· junior high behind you would then pick up the ratio
·9· 40 out of a hundred on the next time series.· And the
10· problem with this is that it's a violation of the
11· density of irreducible fractions in a square which
12· comes from the Euler Totient Function and the sum of
13· the inverse squares.
14· · · · · · So in general, if I had a data set of
15· precincts for an entire county, for an entire city,
16· for many counties in the entire city, the ratio Trump
17· to total in precincts, roughly 60.79 percent of these
18· precincts should have an irreducible ratio.· So
19· reducible would be like 17 to 101, 35 to 71.· These
20· ratios can't be reduced.· They're irreducible, but
21· you can reduce something like 12 out of 24.· That
22· reduces to one half, or eight out of 24 which would
23· be one third.· But in general, if I have an entire
24· data set, 60.79 percent of those ratios throughout
25· the entire time series should be irreducible.


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                   Geometric Proof Edward Solomon
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·1· · · · · · Now, where do I get this number from.
·2· Well, according to Leonard Euler, one of the greatest
·3· mathematicians that ever lived in the 18th century,
·4· the sum of the inverse squares from the Riemann zeta
·5· function converges on pi squared over six, which
·6· means that the expected density or distribution of
·7· irreducible fractions or data set is the reciprocal,
·8· which is six over pi squared.· Six divided by pi
·9· squared is 60.79 percent.· So if we hypothetically
10· had a set of 20 precincts or 20 elementary schools
11· that have a 40 to one hundred ratio to Trump total.
12· So a statistician says oh, all these elementary
13· schools are going to be 40 percent Trump give or take
14· a half a percent, barely anything.· We'll give him
15· very little margin.· We'll be kind to him.· All
16· right.· So 40 percent Trump, very little margin, and
17· that's it.· And the amount of votes that these
18· precincts can actually receive can be anywhere from
19· as little as 30 votes to as much as 4,000 votes in
20· the data set.· So for all of the ratios or the
21· percentages in this case that come out to exactly
22· 40.000 percent, or Trump gets exactly four out of ten
23· votes in each precinct.· It's absurd.
24· · · · · · All right.· So let's take a look.· This is
25· coming off my spreadsheet here for Atlanta.· And the


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·1· 5.555 percent for Trump, which is the one to 18
·2· ratio, four to 72 has a magnitude of 16 because it
·3· appeared in 16 different precincts over a time
·4· series.· And as you can see, when any of these
·5· precincts would pick this ratio up and then abandon
·6· it, another set of precincts would pick up this
·7· ratio.· So as this precinct abandons it, precinct
·8· 10J, these two precincts inherit it, and then this
·9· abandons the ratio and this inherits it and this
10· inherits it, then these two inherit it, no these two
11· inherit it, and so on.· that's not the only ratio
12· that occurs.
13· · · · · · If you look here is the one to 30 ratio,
14· the six to 66 ratio and so on, one to 11 ratio.· And
15· if you copy and paste the sheet into a single impact
16· you get something that looks like this.· There's
17· actually more.· That's all I was able to fit for this
18· one.· And there is no experiment that I've been able
19· to do where I've been able to either replicate in a
20· simulation or discover a train of ratios transfers in
21· a ready existing data set like the ones that I see in
22· Georgia.· I can't produce sheets that look like this.
23· · · · · · So why does the algorithm do what it does?
24· Well, it creates what we call virtual precincts in
25· the cloud.· They don't even exist.· They're fake,


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·1· phoney precincts, and these phoney precincts make up
·2· a fake city, a virtual city, sort of a dopple ganger
·3· or a mirror of the actual city.
·4· · · · · · So we're going to take the city of Atlanta.
·5· The bean counters know there's going to be a million
·6· votes in Atlanta, so we're expecting 48 percent
·7· Biden, 52 percent Trump in this hypothetical example.
·8· So they have the real city, and they take 700,000
·9· votes of the original million, and they don't touch
10· them.· They just let them count naturally, normally,
11· 48 percent Biden, 52 percent Trump.· So of this
12· 700,000 votes that aren't manipulated, Biden will get
13· 336,000 and Trump will get 364,000.· But they'll take
14· the other 300,000 total votes of this million and
15· they'll start manipulating.· So if they want Biden to
16· win with 55 percent overall, then they need to flip
17· this at 73 percent Biden and 27 percent Trump.· So
18· they're the going to take this virtual city of
19· 300,000 votes and they're going to split it into four
20· virtual precincts for this hypothetical example, and
21· these virtual precincts will have a ratio of one to
22· ten Trump, one to five Trump, one to three Trump and
23· two to three Trump, and we're going to give these the
24· variables X, Y, Z, T.· We're going to say 300,000
25· equals X plus Y plus Z has plus T.· And let's make it


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·1· so that Trump gets 33 percent of these votes, and now
·2· we use these ratios.· We say a hundred thousand
·3· equals X over 10 plus Y over five plus Z over three
·4· plus 2T over 3.· And one of the positive integer
·5· solutions of many to this system of equations is X is
·6· equal to 90,500, Y is equal to 40,205, Z equals this
·7· number here under my cursor and T equals this.· So if
·8· you put 90,000 in here and 40,000 in here and 89,000
·9· ballots in this precinct and 79,000 ballots in this
10· precinct at those ratios, then you'll get 300,000
11· total and a hundred thousand for Trump.· It's
12· predetermined.· it's a predetermined aggregate.
13· · · · · · And now when you go combine these, Trump
14· would be 364,000 for natural set plus a hundred
15· thousand, so he gets 464,000, and then Biden gets
16· 336,000 plus 200,000.· That's 536,000.· So Trump
17· would get that 46.4 percent of the vote and Biden
18· would get 53.6 percent in this example.· So we're
19· going to take a look at how this process works and
20· how we end up with this image here.
21· · · · · · And we're going to look at the second
22· virtual precinct has a one to five ratio that
23· requires 40,285 ballots, and the algorithm we'll see
24· is three elementary schools, okay.· They'll have a
25· total of ten thousand votes between them, three


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·1· thousand plus four thousand plus three thousand.· So
·2· Trump will get two thousand out of these ten thousand
·3· combined votes.· So now you've fed ten thousand
·4· ballots into the second virtual precinct, and then it
·5· will release these into a trove, and it will let them
·6· go on their own without any further manipulation.
·7· And we'll pick these up.· This will be another
·8· elementary school.· These will have another 10,000
·9· votes between them.· So Trump will get two thousand
10· out of these ten thousand votes, which is one to
11· five, 20 percent Trump.· And now you've fed a grand
12· total of 20,000 ballot into this virtual precinct.
13· Then it will release control and maybe takes control
14· of a stadium, high school, church, and these add up
15· to 20,285 votes.· Of course, there's an inequality
16· than the actual algorithm.· It doesn't have to be
17· that exact, but pretty much.· You'll get what you
18· need, and now you'll have fed a total of 40,285 votes
19· into this virtual precinct.· Now you've satisfied
20· this ratio, and you've managed to flip a total of
21· 40,285 ballots into only 8,057 for Trump.· That's how
22· you flip votes.
23· · · · · · When the algorithm was running in the 371
24· precincts in Atlanta we seized, you see Trump was only
25· gettin 14.65 percent of the vote.· But when the algorithm


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·1· stopped operating, Trump started to receive
·2· 23.57 percent of the vote in all these precincts.
·3· · · · · · So to get this drastic of a difference
·4· before and after the application is out defies any
·5· explain that I can come up with.· Good luck and God
·6· bless America.
·7· · · · · · ·(End of recording.)
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·3· · · · · · · · · ·CERTIFICATE OF REPORTER

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·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

11

12· · · · · · Dated this 6th day of August, 2021.

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18· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
19· · · · · · · · · · · Registered Professional Reporter

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23· Transcribed by:
24· Charlotte Crandall
25· RPR, FPR


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·1· · · · · · EDWARD SOLOMON:· Okay, guys.· I have all the
·2· data from Philadelphia, all the tabulations done over
·3· time for the entire week after election day and I have
·4· discovered the way Dominion actually distributes the
·5· votes, and it transfers -- it does fraction magic, which
·6· I'm sure many of you heard about it already, but
·7· actually transfers fractions between precincts.
·8· · · · · · So this here, this is the original data for
·9· the New York Times data feed.· You'll see this starts
10· on November 4th at 3:00 in the morning, 4:00 in the
11· morning.· That's when everything went crazy,
12· remember?· And you see you'll get dates all the way
13· up to this is November 7th, and somewhere in here
14· it's like November 9th, so it's like an entire week
15· of data, every time stamp of every tabulation for the
16· total votes, the Biden votes and Trump's votes.
17· · · · · · Now, Biden's votes and Trump's votes don't
18· always add up to the total because you have a third
19· party candidate, and I discovered that the fraction
20· logic, what it does is it sets a specific number of
21· votes that Trump is allowed to get an integer out of
22· a total number of votes, and then it puts a minimum
23· on Biden, and then the remainder can be split evenly
24· between the third party candidate or to Biden.
25· · · · · · So I took only Philadelphia, only


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·1· Philadelphia's time stamps, and then I sorted them by
·2· the -- it's called the major ratio.· The major ratio
·3· is Trump's votes divided by the total votes, okay.
·4· · · · · · The second way, it was sorted after the
·5· major ratio.· The second priority was the date and
·6· time and then by the precinct.· Hold on one second.
·7· · · · · · Okay.· So I found a lot of irregularities.
·8· I'm only going to show you nine exhibits of these
·9· irregularities, but there's hundreds and hundreds of
10· them just on the day of November 4th.· So this data
11· is only Philadelphia's data on the day of
12· November 4th.
13· · · · · · See, this says 11:04.· It's all
14· November 4th.· Now, there's 90,000 rows.· There's
15· 90,000 entries for November 4th for Philadelphia.
16· And before I get into the Dominion vote switching,
17· let's just look at something that's statistically
18· very strange even in this sheet.
19· · · · · · So remember there's 90,000 rows, and it's
20· not until row 40,000, that's half the sheet, until
21· Trump even receives ten percent of the votes in the
22· precincts.· It's not until row 60 something thousand,
23· 65, 63 thousand until Trump starts to get a quarter
24· of the votes.· We're already two-thirds down the
25· sheet.


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·1· · · · · · Trump doesn't get a third of the votes
·2· until row 70,000.· He doesn't even start getting
·3· 50 percent of the votes until near the end, around
·4· 80,000.· And then row 80,000 to 90,000, the last ten
·5· thousand rows are the only entries where Trump
·6· receives more votes than Biden, and by very, very
·7· little.
·8· · · · · · So we're going to look at some particular
·9· exhibits here of the shenanigans that I found, and
10· this is how I finally figured out how Dominion works.
11· So Exhibit one, this starts on row 32,249.· Sorry.
12· It starts s on row 8,300.· This is the first exhibit.
13· November 4th, Philadelphia.
14· · · · · · So four precincts at 3:00 in the afternoon,
15· they report a ratio of one to 48.· So Trump gets one
16· vote exactly for every 48 votes.· That's this right
17· here.· So now that's possible.
18· · · · · · So at first there's nothing weird about
19· that.· You have four precincts that reported.· What
20· makes it weird is that this ratio of one to 48, when
21· it stops because it eventually should stop, and it
22· stops at 10:00 -- it stops at 8:00 in the afternoon,
23· 8:00 p.m.· The original precincts that this ratio,
24· one to 48 were occurring in, which is precincts
25· 06-13, 50-18, 50-26 and 59-23, it transfers that


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·1· ratio one to 48 to precincts 17-06 and 28-16, and the
·2· difference in time is less than five minutes.· So
·3· we're to believe that these four precincts that held
·4· this ratio for many hours, which is normal because
·5· that means they didn't update the tabulation yet.
·6· When they finally update near the end of the hour,
·7· 8:00, the exact same ratio appears in two more
·8· districts.
·9· · · · · · Now, if this was the only example on the
10· whole spreadsheet of this happening with this very
11· short time interval then I wouldn't be making this
12· video.· So now we're going the look at another
13· exhibit here, and this one is really, really
14· suspicious.
15· · · · · · We see at 7:00 in the morning precincts
16· 12-04, 12-08 and 60-13 report they have a one to 18
17· ratio.· So Trump gets one vote exactly for every 18
18· votes here, exactly.· It's not even a fraction.· So
19· that's at 7:00 in the morning.
20· · · · · · At 9:00 in the morning these original three
21· precincts, 12-08, 12-04, 60-13, that ratio gets
22· transferred in the same hour to these three
23· precincts, so basically on the next global update
24· city wide.· It transfers to precincts 13-23, 30-06,
25· 51-07, so that's at 9:00, 9:30.· That stays that way


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·1· until 2:00, 2:30.· Then these three precincts within
·2· a ten-minute time, so this is the global update,
·3· okay.· What updates globally, the whole Dominion
·4· software across the entire city, it transfers that
·5· one to 48 ratio from these three precincts into
·6· 12-16, into district 12-16.
·7· · · · · · Now, if there was many hours between this
·8· same ratio occurring there would be nothing
·9· suspicious.· You're going to have a ratio of one to
10· 48 occur multiple times, but they shouldn't be within
11· ten minutes of each other or generally within the
12· same hour.· That's what makes this suspicious.
13· · · · · · So now precinct 12-16 holds that ratio
14· until 10:00 at night, and it transfers it within the
15· same five-minute interval to precinct 47-10.· What
16· would have been more normal, for instance, is if
17· precinct 47-10 got the same ratio earlier in the day,
18· and then both of those precincts were reporting that
19· number, meaning that this one hadn't updated.· But
20· since what you see here is almost no time difference
21· between these two precincts reporting the same ratio,
22· so it actually transferred the fraction one to 18,
23· one vote per 18 votes Trump to the total to this
24· precinct 47-10 at around 10:00, and then stayed that
25· way until midnight.· And wait until tomorrow I'm


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·1· going to analyze this not for just for November 4th
·2· but for every day of the week.· I'm going to find all
·3· the examples, by the way.· That's Exhibit 3.              I
·4· thought I had two exhibits there.· I did, which is up
·5· here.
·6· · · · · · This is the third exhibit, so this is a
·7· ratio of four to 65.· Four to 65 for the greatest
·8· common factor of the denominator, which is the total
·9· votes which is 13.· We see that precinct 20-066 at
10· 7:00 in the morning holds that ratio.· Then on the
11· next update it transfers it to precincts 20 -- I
12· should put this in gray.· It transfers that ratio
13· simultaneously of four to 65, which is very unusual
14· because of the prime number 13, the denominator, to
15· four different precincts.· · ·So at 7:00 it starts
16· with that, which is fine.· You have to start with
17· something, but then it transfers that ratio all at
18· the same time to these four precincts.
19· · · · · · Let's look at Exhibit 4.· Exhibit 4 the
20· ratio is three to 48, and we see that precinct 34-17
21· holds this ratio from 7:00 in the morning until 9:00,
22· and then at 9:30, this seems to be the theme, it
23· switches around 9:30, right.· It starts at 7, 00 and
24· then -- the ratio starts at 7:00 if you go back in
25· the video and listen, and then the next switch


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·1· happens at 9:00 to 9:30.· So it transfers the ratio
·2· three to 48.· That means Trump gets three votes for
·3· every 48 total from precincts 34-17 to precincts
·4· 11-12 and 36-36.· Then at 3:00 it transfers that
·5· ratio from 11-12 and precincts 36-36 within the same
·6· global tick of the whole city, about ten minutes, to
·7· precincts 16-08 and 20-05.
·8· · · · · · Then at 10:00 at night precinct 60-01 gets
·9· added to this ratio.· Now that's actually not
10· suspicious believe it or not.· That's actually a good
11· thing.· That works in the favor of our adversaries.
12· Not the whole example here, this whole exhibit, just
13· this part of the exhibit.· So that means that
14· precinct 60-01 got this ratio of three to 48 towards
15· the end of the night, and then it got lumped in with
16· the other two precincts, so no transfer has occurred
17· yet.· We just added a precinct.· So it's perfectly
18· fine for this extra precinct to come in in the middle
19· of nowhere with that ratio.
20· · · · · · If you go over to the global sheet since,
21· you know, most of it is okay.· That's generally what
22· you see for these things.· So we give precinct 60-01
23· the benefit of the doubt until, until we notice that
24· all three of those precincts, 16-08, 20-05 and 60-01
25· simultaneously stop reporting that ratio at the exact


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·1· same time, and that's near the end of the hour at
·2· 10:00, and then it transfers that ratio to the
·3· precincts 43-09 and 52-14 and it stays that way until
·4· midnight.· So we started with 60-01 having the
·5· benefit of the doubt of being the only legitimate
·6· entry in this fraudulent exhibit, and then it turns
·7· out that it's actually part of the fraud.· That's
·8· sad.· Okay.
·9· · · · · · Let's go to the next exhibit.· Again we
10· start at 7:00 in the morning.· We have a ratio of
11· four to 63.· The greatest common factor of all these
12· columns is 63.· That's just really weird.· Anyway, so
13· we have this -- that means here again Trump here is
14· getting four votes for every 63 total votes.· So at
15· 7:00 we start, and then again at this 9:00 to 9:30
16· you have this global update, and it transfers this
17· ratio to these two precincts.· So from 61-11 that
18· holds the original ratio, four to 63, it transfers to
19· 13-05 and precinct 60-22 -- 61-22.· 13-05 and 61-22.
20· · · · · · Now again, if this was the only example of
21· this happening it wouldn't be that suspicious.· We
22· don't see this ratio transferred multiple times like
23· we did in the other exhibits, so it's possible this
24· one is legitimate.· This may not be fraudulent.· It
25· could just be a weird occurrence.· So we'll give them


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·1· the benefit of the doubt on that one, but it's weird.
·2· All right.
·3· · · · · · So exhibit -- this is the sixth exhibit,
·4· and we get this ratio of five to 31, which is
·5· something a computer would do because it's a prime
·6· number to a prime number.· And by the way, all these
·7· columns total, they can all be divided by 31.· So we
·8· get to precincts 13 and 38 start with this ratio of
·9· five to 31 at 7:00 in the morning, and then there is
10· a jump of many, many hours which is good, like it's a
11· good thing, means there's no fraud occurring.· So we
12· can say that these entries, these here is actually
13· not fraudulent.· But then we continue to analyze it
14· for county -- for district No. 01-17 starting at
15· 3:00 in the afternoon.
16· · · · · · Now, I notice that this ratio transfers, so
17· this is district 01-17.· It transfers to districts
18· 36-09 and 37-10 within the same five-minute slot.
19· This is a -- it's near the end of 8:00 in the
20· evening.· This seems to be a very common time when
21· the global update happens in the other exhibits, so
22· that looks pretty suspicious but it's still
23· plausible.· It could technically happen.
24· · · · · · So these exhibits here, Exhibit 2 was an
25· example of something that absolutely cannot happen if


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·1· we go back for a moment.· You can't have that many
·2· transfers within minutes of each other or within the
·3· same hour of the same ratio.· That just can't happen.
·4· · · · · · Okay.· Sheet three.· Let's take a look up
·5· here.· This is the ratio of one to five.· So what I
·6· did was I just scrolled until I got to 20 percent
·7· because I wanted to make this video while I was still
·8· young.· So I went to 20 percent, which is a ratio I
·9· wanted to see what happened at that time, and we see
10· that precinct 05-30 reports a split of one to five,
11· so one vote for Trump for every vote overall.· And at
12· 9:30 that ratio is transferred to precinct 01-05,
13· 05-13, 05-24 and 19-02, and then it's transferred
14· again at 3:00 to precincts 25-16 and 36-29.· And it's
15· transferred again at 10:00 at night to precinct
16· 48-18.· Very strange.· To me that's fraud.· That's
17· like Exhibit 2.· So Exhibit 2 and Exhibit 9 are the
18· strongest examples so far in this video of things
19· that just can't happen.· And I actually went looking
20· for it.· I said what happened at 20 percent in the
21· big sheet and I found fraud.· And in general it's not
22· like it was hard for me to find these examples.                  I
23· literally just went like eeny, meeny, miny, mo, catch
24· a tiger by the toe and stopped, and then would find a
25· bunch of numbers like here is 46 to 46.· You saw me


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·1· do this randomly in the video and you just see all
·2· these examples of ratios being transferred within
·3· minutes of each other to different precincts.
·4· · · · · · So here's one to six.· That's 1.6
·5· repeating.· Before I go to the next exhibits let me
·6· show you.· Okay.· So that starts sat 7:00 in the
·7· morning.· Let's just do an example.
·8· · · · · · So this is the ratio one to six, right.· So
·9· let's see if the -- so let's copy this.· I'm just
10· going to do an example live.· Oh, look.· I don't even
11· have a ninth exhibit, so you know what, it's a good
12· thing we're doing this live because I wouldn't have
13· had a ninth exhibit to show you.
14· · · · · · So let's look at what's funny here.· So
15· this is when the ratio is one to six.· I assume the
16· common denominator here is six.· I'm just trying to
17· see if I can get something better out of it.· Well, I
18· don't have time to figure that out.· This is the
19· actual video right now.· So let's see, 07-20, 15-40,
20· 21 -- when does seven repeat.· Right here.· So it's
21· five precincts.· Get this ratio at 7:00 in the
22· morning seven to 40.· So it switched here somewhere.
23· So this is the first block.· The transfer happens
24· here.· It's too dark for the video.· So this transfer
25· happens at 9:00 in the morning at 9:30 to these two


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·1· precincts.· Again, it's that same time stamp of
·2· 9:00 to 9:30, around the time of the global update.
·3· 19-10, 19-10.· Here it is.
·4· · · · · · Here is the next transfer, this ratio of
·5· one to six.· We still didn't do Exhibit 8 yet.· We'll
·6· go back to Exhibit 8.· Exhibit 9 is a wide exhibit.
·7· you can see it's not very hard for me to find these
·8· things.· It's too dark.
·9· · · · · · So this is at the 3:00.· That's 15:00.
10· 15:00 is 3:00.· This is ten minutes later.· So it
11· transferred this ratio again from precincts 19-10,
12· 40, 42-23 to 17-17 and 23-03, 19 -- and 62-66, okay.
13· So this is three precincts it transferred to.· So it
14· transfers it from two precincts to three precincts.
15· Pretty sure that will go to the end.· That would be
16· scary.· Oh, my God.· It keeps transferring.· 07-62 is
17· what I'm looking for.· That's clever too.· They try
18· to hide it.· So watch this.· I just found like
19· another funny way to do this, to hide it from you.
20· · · · · · So this is precinct 07-17, 23-03 and 62-06.
21· These are the ones that received the transfer from
22· these two precincts, and that goes on until 10:40,
23· and then on that global reset in the previous
24· exhibits, about five minutes later at 10:47 transfers
25· them to this precinct, 62-26.· Notice how close that


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·1· is to number 62-06.· I'm pretty sure that's done
·2· deliberately to confuse somebody visually because I
·3· almost overlooked that transfer.
·4· · · · · · So there's a live example I just did for
·5· you.· I really just went to somewhere randomly in the
·6· sheet sort of because I was kind of looking for the
·7· fraction one over six, but almost random.· If I
·8· wanted to, I don't have time in the video, I could
·9· literally just stop this scroll bar in the big data
10· set just anywhere and just find an example, like
11· 38.78, this fraction here.· 173, I'm pretty sure
12· that's a prime number.· 449.· That's a prime number.
13· What this hell.· How does that happen.· It better be
14· the same precinct the whole way through.· Okay.· At
15· least it's the same precinct, so that's fine.
16· · · · · · But you can find examples of the same ratio
17· occurring in multiple precincts pretty much anywhere
18· just by dropping your cursor in the middle of the
19· sheet somewhere.· We'll go back to Exhibit 8.
20· Anyway.· Let's go back to Exhibit 8.· That wasn't
21· covered yet.
22· · · · · · So we have here a ratio of one to four, so
23· that means the major ratio is 25, so Trump gets one
24· vote to every four total.· We see that's reported at
25· 7:00 in the morning from precincts 01-02, 15-17,


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·1· 2309, 45-13, 62-15 at 7:00 in the morning
·2· November 4th.
·3· · · · · · That ratio persists until 8, 00 about an
·4· hour, until 9:00.· Remember, at 9:06, 9:10 is when
·5· this transfer keeps happening, and it you transfers
·6· that ratio of one to four to Philadelphia district
·7· 02-01.· Pretty weird.· Then at 3:00, it -- let me
·8· see.· Let me make sure.· So there's a five-hour jump
·9· from here to here, which is a good thing.· That means
10· it wasn't transferred to another precinct
11· immediately.· Okay.· Sorry about that.
12· · · · · · Let's take a look here.· So this is
13· actually -- this is probably clean because one to
14· four isn't that hard of a ratio to get.· So Exhibit 8
15· is something that's plausible.· I definitely wouldn't
16· bring this one to court.· But the last exhibit that
17· we did here, Exhibit 9 -- I had to take care of a
18· microwave there.
19· · · · · · So the last Exhibit we did at random,
20· Exhibit 7 was pretty bad, especially since the ratio
21· was weird, three to 48, Exhibit 4.· I'm going to have
22· to cut this part of the video.
23· · · · · · Hey, I'm back.· I had to cut part of the
24· video.· Some things happened at home.· Okay.
25· · · · · · So let me explain how I think this whole


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·1· system works.· So let's just take the ratios we see
·2· here.· I'm going to write them down.· One to 48, one
·3· to 18, four to 65, three to 48, very strange ratio,
·4· four to 63, five to 31, four to 63, five to 31.· The
·5· last ratios are one to five, one to four, one to six.
·6· Now, a couple of these exhibits were plausible, but
·7· for the sake of this example how I think it works,
·8· we're just going to say that they were all
·9· fraudulent.· Okay.
10· · · · · · So this is how I think it works.· Get rid
11· of all this.· I think Dominion needs a certain amount
12· of votes it needs to flip.· Total amount to flip,
13· okay.· Now, let's say that it needs to flip them at
14· the ratio, because Trump has such a huge margin,
15· let's say that it needs to flip them -- they need to
16· make sure that Biden gets about 66 votes to every 33
17· votes that Trump gets with one vote left over for a
18· third party candidate, or it just can be added to
19· Biden and what it does, it just splits into blocks,
20· these fractional blocks.
21· · · · · · What was there, nine?· So let's see if
22· there's nine exhibits.· One, two, three, four, five,
23· six, seven.· Now there's more obviously in this
24· gigantic sheets, these oddities happen many, many
25· times.· There are many more exhibits, hundreds of


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·1· exhibits in here I would imagine where you have
·2· ratios being transferred.· But for the sake of my
·3· theory we're just going to pretend these are the only
·4· ratios that got transferred on November 4th.
·5· · · · · · So it says we're going to take a certain
·6· ratio.· So this box will have one to 48 ratio of
·7· ballots.· I'm just going to kind of make the numbers
·8· up because I don't want to keep going back to the
·9· machine.· Too much.· Four to 65.· So X equal the
10· total amount to flip.· Actually, we'll just read them
11· off.· Three to 48, four to 63, and this wouldn't be
12· very hard for a computer to do.· Four to 63, five to
13· 31.· I purposefully didn't want to make them the same
14· size.· I just sort of dragged the cursor because
15· they're not then the same size in reality either.
16· One to six, one to five, one to four.
17· · · · · · So what I think it does, I'm pretty sure
18· this is what it does.· I'm going to take the total
19· amount of votes that needs to be flipped and I'm
20· going to separate them like this.· So it will split
21· the X into nine parts that it needs.· So let's just
22· say to make up the amount, Biden needs a hundred
23· thousand votes.· He needs 200,000 votes and Trump
24· needs a 100,000 votes.· This is how we need to change
25· the margins.


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·1· · · · · · So it redistribute the number 200,000 and
·2· 100,000 into these boxes in accordance to these nine
·3· ratios, and in order -- okay.· So what it does then,
·4· and this is where it gets really sadistic.· It then
·5· says I'm going to -- we're going to take one of
·6· these -- we'll do two of these boxes.· It· says for
·7· the box one to 48, we're going to split that into
·8· let's say three precincts.· We'll do the four to 65
·9· because that's like the weirdest number.
10· · · · · · So this is what Dominion does.· It says I'm
11· going to split this into three precincts.· To change
12· the amount of votes that come in, and then when
13· there's a global update, since I don't want to look
14· suspicious, so I'm going to transfer the workload of
15· this ratio, four to 65, to two other precincts.· So
16· it goes from three precincts to two, and then it
17· transfers a ratio again.· So this is time going down.
18· It says okay, well, we still don't have as many votes
19· here as we need, so we'll transfer it to two more
20· precincts.· The amount of precincts it transfers to
21· is irrelevant, so I'm going to transfer this ratio to
22· these two precincts.· Then I'm going to transfer it
23· to, we'll do one more branch, let's say to three new
24· precincts.· So these branches are what's happening
25· over time.


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·1· · · · · · So it passes it through all these -- it
·2· transfers these ratios to these precincts, these sets
·3· of precincts over time.· So let's say -- so four to
·4· 65 means Trump needs -- we take that number, 100,000,
·5· right, four to 65.· Four divided by 65, I have a
·6· hand-held calculator in front of me, so 16 percent,
·7· so times a hundred thousand.· So the computer knows
·8· it needs to get in total 6,153 -- not exactly sure
·9· how that works there.· Let me take a look.· Oh, I
10· see.· Four parts to 65.· It wouldn't be That
11· complicated, but it's going to distribute it, so we
12· just have to make up a number here that's four to 65,
13· so let's just multiply it by 50.· So we need to get
14· 200 votes for Trump in this box here, and it needs to
15· get 3200 votes for Biden because that's the ratio.
16· So that's what Dominion is trying to get into this
17· overall red box of four to 65.· That's just a
18· hypothetical.· And when the votes finally add up in a
19· way to where Trump gets 200 total over time, when
20· Trump hits around 200 votes and Biden hits around
21· 3200 votes, it then stops that ratio.· It doesn't
22· need that proportion anymore because it built this
23· ratio of 4-65 for all the votes that it needed, and
24· then this box would now be satisfied.· So now it's
25· satisfied and doesn't need that proportion anymore.


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·1· · · · · · So again, let's go over how I think this
·2· works.· So you need a total amount of votes you need
·3· to flip for Biden to take out Trump's margin.· So
·4· just say hypothetically he needs 200,000 votes for
·5· every 100,000 votes that Trump gets to overtake his
·6· margin, and it splits that into these random, pretty
·7· much random integer ratios.· That's what makes it so
·8· suspicious, right.· It's not like -- I mean,
·9· technically they're all going to be integer ratios,
10· but like these types of ratios.· I don't know how
11· else to explain it.· It's not like you're getting a
12· lot of prime numbers, right.· If I did the prime
13· number theorem, right, a percentage of these numbers
14· should be prime in this T column, and they're not.
15· I'm not counting the repetitions when they don't
16· update.· So if we took all the unique denominators
17· and we said how many of these are prime numbers, I
18· bet we would get less prime numbers than we're
19· supposed to, okay.
20· · · · · · Oh, that's for another video.· So let's go
21· back here.· So, okay.· So it takes this thing and
22· then it I splits it into many, many different of
23· these red boxes, right, that's how the algorithm
24· works of all these ratios.· And then what it does is
25· it assigns that ratio to several precincts.· And in


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·1· order to hide the shenanigans it transfers that ratio
·2· to different sets of precincts throughout the day,
·3· and once the number is reached that it wants it stops
·4· transferring that number.· Now, I don't know how true
·5· that is because this only goes to November 4th.
·6· Well, I know that's true, and then -- but this -- my
·7· data sheet goes out to the 9th or the 10th or maybe
·8· even the 11th.· So I'm pretty sure, I wouldn't doubt
·9· if we see the ratio four to 65 occur from not just on
10· November 4th, but all the way until the end of the
11· counting of tabulations.· I wouldn't doubt it, and it
12· just keeps transferring this number to multiple
13· precincts, and many other ratios as well with little
14· to no time between the jumps.· So that's how I think
15· this fraction magic actually words.· So the magic
16· occurs right here.· And then it hides its own paper
17· trail, so to speak, by switching it between the
18· precincts.· And even being so clever as we saw in the
19· last exhibit I did live to sometimes to transfer it
20· to precincts that almost have the same number.· So
21· 62-06 to 62-26.· So any human being like you and me
22· going over data might not even notice the transfer.
23· So that's my theory on how Dominion is working and
24· how it's flipping votes.
25· · · · · · So it's not just taking every precinct and


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·1· applying one ratio to it.· It's taking multiple sets
·2· of precincts and applying multiple ratios such that
·3· when they all come back to a certain number they add
·4· up to the total number that is required to flip the
·5· margin.
·6· · · · · · So that's the end of the video.             I
·7· apologize for stuff going on in the kitchen and --
·8· well, that's it.· I'm going to upload all the files
·9· so you guys can check it yourself so you know I
10· didn't fabricate this data for some political agenda.
11· I just took the data straight off the New York Times
12· feed.
13· · · · · · Like I said, when you get the file what
14· you're going to do is you're going to sort it by --
15· you want to sort it first -- you want to sort it by
16· time, the initial file, and then by the locality and
17· then by the precinct.· Then you'll put that -- you'll
18· copy and paste the dates you want.· So let's say you
19· want all of Philadelphia on November 4th.· That's the
20· second one you want after you sort it into a new
21· spreadsheet, and you're going to create the ray
22· (phonetic) formula that divides Trumps votes by the
23· total vote.· Then you're going to resort the data
24· again by that major ratio that you entered, then by
25· the date and time, and then by the precinct, and


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·1· that's how you get this information the same way I
·2· got it.· All right.· I'm going to close the video and
·3· start uploading.
·4· · · · · · (End of recording.)
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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

10

11· · · · · · Dated this 6th day of August, 2021.

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